 Case 1:22-cr-00214-WFK Document 65 Filed 12/21/22 Page 1 of 1 PageID #: 598




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA,                             :
                                                      :
                                                      :
           v.                                         : ORDER
                                                      : 22-CR-214 (WFK)
                                                      :
FRANK JAMES,                                          :
                                                      :
                           Defendant.                 :
------------------------------------------------------X
WILLIAM F. KUNTZ, II, United States District Judge:

       The Court SCHEDULES a change of plea hearing for Tuesday, January 3, 2023 at 2:00

P.M. in Courtroom 6H North, at the United States Courthouse, 225 Cadman Plaza East,

Brooklyn, New York 11201, before the Honorable William F. Kuntz, II.


                                                 SO ORDERED.



                                                   s/ WFK
                                                 ____________________________
                                                 HON. WILLIAM F. KUNTZ, II
                                                 UNITED STATES DISTRICT JUDGE


Dated: December 21, 2022
       Brooklyn, New York
